                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                               NO.  7:10-CR-22-F

UNITED STATES OF AMERICA

             v.

MATTHEW TEACHEY,
     a/k/a "Mathew Teachey"


                         PRELIMINARY ORDER OF FORFEITURE

       In the Criminal Indictment in the above action, the United

States sought forfeiture of property of the defendant pursuant to

21 U.S.C.    §    853.

       The defendant, Matthew Teachey, pled guilty pursuant to a

written plea agreement as to Count One contained in the

Indictment, specifically, 21 U.S.C.          §   846.   The defendant also

agreed to forfeit his ownership interests in certain property

which facilitated or which was acquired through his illegal

activities.

       The Government seeks the forfeiture of certain property

which allegedly relate to the defendant's illegal activities, to

wit:

       That lot or parcel of land, together with its buildings,

improvements, fixtures, attachments, and easements, having the

street address as 5120 Cornwallis Road, Turkey, North Carolina,

and legally described in a deed recorded in Book 1256, Pages 91­

93 of the Sampson County Register of Deeds.




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        After an appropriate hearing as required by Fed. R. Crim. P.

32.2(b) (2), the Court specifically finds that, as the subject

property was instrumental to the criminal offense, the required

nexus between the property to be forfeited and the criminal

offense exists.

        Accordingly, it is hereby ORDERED, ADJUDGED AND DECREED

that:

        1.   Based upon the defendant's guilty plea and other

information of record and presented by the Government, the

subject property is forfeited to the United States for

disposition in accordance with the law.

        2.   That pursuant to 21 U.S.C.   §   853(n), the United States

shall publish notice of this Order and of its intent to dispose

of the property in such manner as the Attorney General directs,

by publishing and sending notice in the same manner as in civil

forfeiture cases, as provided in Supplemental Rule G(4).            Any

person other than the defendant, having or claiming any legal

interest in the subject property must file a petition with the

Court within 30 days of the publication of notice or of receipt

of actual notice, whichever is earlier.

        The petition must be signed by the petitioner under penalty

of perjury and shall set forth the nature and extent of the

petitioner's right, title, or interest in the subject property,




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and must include any additional facts supporting the petitioner's

claim and the relief sought.

     3.     That upon adjudication of all third party interests

this Court will enter a Final Order of Forfeiture pursuant to

18 U.S.C.   §   2253(m)(6), as required by Fed. R. Crim. P. 32.2(C).

     4.     That upon sentencing and issuance of the Judgment and

Commitment Order,     the Clerk of Court is directed to incorporate a

reference to this Preliminary Order of Forfeiture in the

applicable section of the Judgment, as required by Fed. R.

Crim. P. 32.2(b) (3).     In accordance with Fed. R. Crim. P.

32.2(b) (3), this Order is now final as to the defendant.

     SO ORDERED.

            This   l>~ ~ day of _~~=--",~_' 2010.
                                ?7
                                     ES C. FOX
                                   enior united States District Judge




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